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 2                                                   UNITED STATES DISTRICT COURT
 3                                                  EASTERN DISTRICT OF CALIFORNIA
 4

 5    GERALD CARLIN, JOHN RAHM, PAUL                                     Case No. 1:09-CV-00430-AWI-GSA
      ROZWADOWSKI and BRIAN WOLFE,
 6    individually and on behalf of themselves and
      all others similarly situated,                                     ORDER TO EXTEND TIME FOR
 7                                                                       DAIRYAMERICA TO RESPOND TO
                                      Plaintiffs,                        PLAINTIFFS’ FIRST AMENDED
 8                                                                       COMPLAINT
                               v.
 9
      DAIRYAMERICA, INC.,
10
                                       Defendant.
11

12
                               The Court has reviewed the joint stipulation filed by the parties on October 29, 2013 (Doc.
13

14    142). Accordingly, the deadline for Defendant DAIRYAMERICA, INC. to respond to the First

15    Amended Complaint shall be extended by 7 days, up to and including November 6, 2013.

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19    IT IS SO ORDERED.
20
                            Dated:   November 1, 2013                              /s/ Gary S. Austin
21    DEAC_Signature-END:
                                                                         UNITED STATES MAGISTRATE JUDGE
      cf0di0
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                                                                       -1-
28    ORDER TO EXTEND TIME FOR DAIRYAMERICA TO RESPOND TO FIRST AMENDED COMPLAINT OF
      CARLIN ET AL.
      DWT 22889337v2 0090114-000001
